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\o
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

IN THE MATTER OF THE `
SEARCH OF _
s CASENO_ 18 2712 Ai)c

THE PERSON OF ERIC WAYNE
GRINDER; 18..2713_ADC
A SONY PLAYSTATION 4, MODEL Fn_ED_, ENTEHED
NUMBER CUH-1001A S/N: MB074707683; LOGGED___.__ RECE‘VED
AND »

t ctr 2 2 2018
A SENTRY 1160 SAFE, BEIGE IN COLOR ORE

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AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

l, Richard P. Frederico, being duly sworn, depose and state that:

l. l am a Special Agent (SA) with the Depaxtment of Homeland Security, lmrnigration
and Customs Enforcement (ICE), Homeland Security Investigations (HSI), assigned to the
Resident Agent in Charge, Frederick, Maryland Oflice and have been so employed since January
1998. As part of the daily duties as an HSI agent, I investigate criminal violations relating to child
exploitation and child pornography including violations pertaining to the illegal production,
distribution, receipt, and possession of child pornography, in violation of Titlel 8, U.S.C. §§ 2251`
and 2252A. I have received training in the area of child pornography and child exploitation, and
have had the opportunity to observe and review numerous examples of child pornography (as
defined in 18 U.S.C. § 2256) in all forms of media including computer media l have also
participated in the execution of search warrants that involved child exploitation and/or child
pornography offenses

2. l have received formal training from U.S: Customs and HSI and other agencies in
the area of child pornography, pedophile behavior, collectors of other obscene material, and
Internet crime. This includes, but is not limited to, production of child pornography in violation

of 18 U.S.C. § 225](a) and receipt and possession of child pornography in violation of 18 U.S.C.
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Case 1:18-mj-O2713-ADC Document 3 Filed 10/22/18 Page 2 of 20

§ 2252A(a)(2) & (5)(B) (“the TARGET OFFENSES”).

3. As a federal agent, l am authorized to investigate violations of laws of the United
States and am a law enforcement officer with the authority to execute warrants issued under the
authority of` the United States.

PURPOSE OF THIS AFFIDAVIT

4. This affidavit is being submitted for the limited purpose of establishing probable
cause to support a search warrant authorizing agents:

a. to view and photograph the hands of Eric Wayne Grinder. Grinder is
currently in the custody of the Carroll County Detention Center. Grinder is
more fully described in Attachment A-l;

b. to search a SONY PLAYSTATION 4, l\/lodel Number CUI-I-lOOlA S/N:
MBO74707683, more'fully described in Attachment A-2; and

`c. to search a SENTRY 1160 SAFE, BEIGE IN COLOR, more fully described
in lattachment A-Z (together, the “TARGET LOCATIONS”)

5. l am familiar With the information contained in this affidavit based upon the
investigation 1 have conducted and based on my conversations With other law enforcement officers
who have engaged in numerous investigations involving child pornography The information
contained in this affidavit carrie from my own participation in the inquiry described herein, as well
as from other law enforcement officers and other third parties.

6. Because this affidavit is being submitted for the limited purpose of securing a
search warrant, 1 have not included each and every fact known concerning this investigation 1
have set forth only those facts that 1 believe are necessary to establish probable cause to believe

that evidence of violations of 18_ U.S.C. § 2251(a) (production of child pornography) and 18 U.S.C.

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Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 3 of 20

§ 2252A(a)(2) & (5)(B) (receipt and possession of child pornography) are located at the TARGET
LOCATIONS further described in Attachment A-l and A-2. The items to be seized are specified
in Attachments B-l and B-Z, which is hereby incorporated by reference

SUMMARY CONCERNING CHILD PORNOGRAPHY AN]) PERSONS WHO
POSSESS AND COLLECT CHILD PORNOGRAPHY

7. Based on my investigative experience related to child pornography investigations,
and the training and experience of other law enforcement officers with whom 1 have had
discussions, l have learned that individuals who utilize the intemet to view and receive images of`
child pornography are often individuals who have a sexual interest in children and in images of
children, and that there are certain characteristics common to such individuals, including the

following:

a. lndividuals who have a sexual interest in children or images of children may
receive sexual gratification, stimulation, and satisfaction from contact with children, or from
fantasies they may have viewing children engaged'in sexual activity or in sexually suggestive
poses, such as in person, in photographs, or other visual media, or from literature describing such
activity.

h. Individuals who have a sexual interest in children or images of children may
collect sexually explicit or suggestive materials, in a variety of media, including photographs,
magazines, motion pictures, videotapes, books, slides and/or drawings or other visual media.
Individuals who have a sexual interest in children or images of children oftentimes use these
materials for their own sexual arousal and gratification Further, they may use these materials to
lower the inhibitions of children they are attempting to seduce, to arouse the selected child partner,
or to demonstrate the desired sexual acts. `

c. Individuals who have a sexual interest in children or images of children
frequently maintain their “hard copies” of child pornographic material, that is, their pictures, films,
video tapes, magazines, negatives, photographs, correspondence, mailing lists, books, tape
recordings, etc., in the privacy and security of their home or some other secure location.
lndividuals who have a sexual interest in children or images of children typically retain pictures,
films, photographsJ negatives, magazines, correspondence, books, tape recordings, mailing lists,
child erotica, and videotapes for many years.

d. Likewise, individuals who have a sexual interest in children or images of
children often maintain their collections that are in a digital or electronic format in a safe, secure
and private environment, such as a computer, external hard drive and other memory device, or
cellphone, and surrounding area. These collections are often maintained for several years and are

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Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 4 of 20

kept close by, usually at the collector’s residence, or in online storage, email accounts or other
online communication accounts, to enable the individual to view the collection, which is valued
highly These individuals also, occasionally, keep their collections at their office or place ofwork.

e. Individuals who have a sexual interest in children sometimes keep portions
of their collection in a digital or electronic format such as an external hard drive or other memory
device and then secure that drive or memory device in a secure location such as a locked safe or
in hidden locations within what appear to be typical household items.

f. lndividuals who have a sexual interest in children or images of children also
may correspond with and/or meet others to share information and materials, rarely destroy
correspondence from other child pomography distributors/collectors, conceal such
correspondence as they do their sexually explicit material, and often maintain lists of names,
addresses, and telephone numbers of individuals with whom they have been in contact and who
share the same interests in child pornography This data is typically in digital format, and often
maintained on computers, cell phones and in online storage, email accounts or other online
communication accounts.

g. lndividuals who would have knowledge on how to distribute and receive
digital images of child pornography through the use of Peer to Peer networks and other online
methods would have gained knowledge of its location through online communication with others
of similar interest. Other forums, such as bulletin boards, newsgroups, IRC chat or chat rooms
have forums dedicated to the trafficking of` child pornography images. individuals who utilize
these types of forums are considered more advanced users and therefore more experienced in
acquiring a collection of child pornography images.

h. lndividuals who have a sexual interest in children or images of children
prefer not to be without their child pornography for any prolonged time period. This behavior has
been consistently documented by law enforcement officers involved in the investigation of child
pornography Consequently, individuals who have a sexual interest in children store their child
pornography images in a variety of portable media~_electronic and otherwise_and frequently
maintain multiple computers and portable digital storage devices such as “thumb” or “flash” drives
to store their collections

8. Based on my investigative experience related to computer and intemet related child
pornography investigations, and the training and experience of other law enforcement officers with
whom l have had discussions, l have learned the following:

a. Computers and computer technology have revolutionized the way in which
child pornography is produced, distributed, and utilized. lt has also revolutionized the way in
which child pornography collectors interact with each other. Child pornography formerly was
produced using cameras and film (either still photography or movie`s.) The photographs required
darkroom facilities and a significant amount of skill in order to develop and reproduce the images.
As a result, there were definable costs involved with the production of pornographic images. To

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Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 5 of 20

distribute these on any scale also required significant resources The photographs themselves were
somewhat bulky and required secure storage to prevent their exposure to the public. The
distribution of these wares was accomplished through a combination of personal contact, mailings,
and telephone calls Any reimbursement would follow these same paths. 1

b. The development of computers, smartphones and the intemet have added to
the methods used by child pornography collectors to interact with and sexually exploit children
Computers, smartphones and the intemet serve four functions in connection with child
pomography. These are production, communication, distribution, and storage

c. Child pornographers can now transfer photographs from a camera onto a
computer-readable format With the advent of digital cameras, the images can now be transferred
directly onto a computer. A device known as a modern allows any computer to connect to another
computer through the use of telephone, cable, or wireless connection Electronic contact can be
made to literally millions of computers around the world. The ability to produce child pornography
easily, reproduce it inexpensively, and market it anonymously (through electronic
communications) has drastically changed the method of distribution and receipt of child

pomography.

d. Child pornography can be transferred via electronic mail or through file
transfer protocols (FTP) to anyone with access to a computer and modem. Because of the
proliferation of commercial services that provide electronic mail service, chat services (i.e.,
“lnstant Messaging”), easy access to the Internet, and online file sharing and storage, the computer
is a preferred method of distribution and receipt of child pornographic materials

e. The lnternet and its World Wide Web afford collectors of child pornography
several different venues for obtaining, viewing, and trading child pornography in a relatively
secure and anonymous fashion Collectors and distributors of child pornography use online
resources to retrieve and store child pomography, including services offered by lnternet Portals
such as AOL lnc., Yahoo! and Google, Inc_, Facebook, Dropbox, lnstagram, among others The
online services allow a user to set up an account with a remote computing service that provides e-
mail services, file exchange services, messaging services, as well as electronic storage of computer
files in any variety of formats A user can set up an online storage account from any computer
With access to the lnternet. Email accounts, online storage accounts, and other online
communication accounts allow users to save significant amounts of data, including email, images,
videos, and other files The data is maintained on the servers of the providers, and is occasionally
retained by the providers after the user deletes the data from their account.

f. ln my recent investigative experience, as well as recent discussions with law
enforcement officers, l know that individuals who collect child pornography are using email
accounts, online storage accounts, and other online communications accounts to obtain, store,
maintain, and trade child pornography with growing frequency, in addition to, or as an alternative
to, the use of personal devices

g. In addition, computer files or remnants of such files can be recovered
months or even years after they have been downloaded onto a hard drive, deleted, or viewed via

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Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 6 of 20

the lnternet. Electronic files downloaded to a hard drive can be stored for years at little to no cost.
Even when such files have been deleted, they may be recoverable months or years later using
readily available forensic tools.

h. When a person “deletes” a file on a home computer, the data contained in
the file does not actually disappear; rather, that data remains on the hard drive until it is overwritten
by new data. Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space that is, in space on the hard drive that is not allocated to an active file or that is unused
after a file has been allocated to a set block of storage space for long periods o`f time before they
are overwritten

i. ln addition, a computer’s operating system may also keep a record of
deleted data in a “swap” or “recovery” file. Similarly, files that have been viewed via the lntemet
are automatically downloaded into a temporary lntemet directory or cache. The browser typically
maintains a fixed amount of hard drive space devoted to these files, and the files are only

- overwritten as they are replaced with more recently viewed lntemet pages

j. The storage capacity of personal computers has increased dramatically over
the last few years Cornmon and commercially available hard drives are now capable of storing
over 500 GB of data. With that amount of storage space, an individual could store thousands of
video files and/or hundreds of thousands of image files

k. Thus, the ability to retrieve residue of an electronic file from a hard drive
depends less on when the file was downloaded or viewed than on a particular user’s operating
system, storage capacity, and computer habits Since the storage capacity of hard drives has

increased dramatically over the last several years, it is more likely that the above described
information will be recovered during forensic analysis

LAWFUL AUTHORITY FOR PHOTOGRAPHS

9. The Fifth Amendment protects from compelled disclosure only that evidence which ‘
is testimonial or communicative in nature. Schmerber v. California, 384 U.S. 757 (1966). ln
Schmerber, the Supreme Court observed that traditionally witnesses could be compelled, in both
state and federal courts, to submit to “fingerprinting, phr;~tc)grr:rphingj or measurements, to write or
speak for identification, to appear in court, to stand, to assume a stance, to walk, or to make a
particular gesture.” Id. at 764 (emphasis added); see also United States v. Euge, 444 U.S. 707, 713
(1980).

10. The privilege does not protect or prohibit the introduction of information obtained
through an examination or display of physical characteristics See, e_.g. , Hoft v. United Stares, 218

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Case 1:18-mj-0'2713-ADC Document 3 Filed 10/22/18 Page 7 of 20
U.S. 245, 252-53 (1910) (the prohibition against self-incrimination is a prohibition against the use
of compulsion to extort communication, not an exclusion of one’s body as evidence when it may
be material); United Stafes v. Hubbell, 530 U.S. 27, 34-35 (2000) (“The act of exhibiting such
physical characteristics is not the same as a sworn communication by a witness that relates either
express or implied assertions of fact or belief.”). '

ll. A suspect facing a court order to produce non-testimonial evidence has no
constitutional right to refuse the order. See fn re Braughton, 520 F.2d 765, 767 (9th Cir. 1975)
(request for handwriting exemplar).

12. Moreover, regarding the Fourth Amendment, a defendant has no reasonable
expectation of privacy in his physical characteristics where, as here, the defendant was arrested
and detained based on a finding of probable cause to believe that he had committed the crime

alleged in the lndictment. See Jones v. Murray, 962 F.2d 302, 304 (4th Cir. 1992) (noting that
“persons lawfully arrested on probable cause and detained lose a right of privacy from routine
searches of the cavities of their bodies” and concluding “as with fingerprinting, therefore, we find
that the Fourth Amendment does not require an additional finding of individualized suspicion
before blood can be taken” for the purpose of identification).

PRoBABLE CAUsE

l3. November 27, 2016, Makenna Riley Grinder (the “Minor Victim”), age 10,
disclosed to her mother, Alesha Grinder (“Alesha”), that her adoptive father, Eric Wayne
GRINDER, had been sexually abusing her.

1-4. On November 28, 2016, Alesha contacted the Carroll County Sheriff’ s Department
to report the abuse. On November 29, 2016, the Minor Vict_im was interviewed by a Maryland

State Police investigator and an investigator from Carroll County Child Protective Services (CC

Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 8 of 20

CPS). During the interview, the Minor Victim advised that she lives with her mother and j
GRINDER and that the family had moved to their current house in Westrninster, Maryland
sometime during the summer of 2016 from their previous home in Abingdon, Maryland.

15. During her interview, the Minor Victim disclosed that GRINDER sexually abused
her in both the family’s current home in Westminster as well as their previous home in Abingdon.
The Minor Victim estimated that the abuse began when she was age eight. The l\/linor Victim
advised that she thought the last incident occurred in her current house in Westminster about a
week prior to the interview.

16. The Minor Victim was identified various body parts on a girl to include, “thing,”
“butt,” and, “boobs”ereferring to the vagina, buttocks, and breasts, respectively She also named
various body parts on the boy to include, “thing,” “butt,” and, “boobs”_referring to the penis,
buttocks, and chest, respectively

17. lnitially, the Minor Victim disclosed that her father abused her by touching her
“thing” (vagina) with his hand. She first said he touched it over her clothes, but then advised he
touched the skin of her “thing”_her vagina. She advised that this occurred both in her bedroom
at her current house and at the family’S previous house in Abingdon, Maryland_atleast six times
. total. The Minor Victim then disclosed that her father touched her “thing” (vagina) with his
“thing” (penis). -

18. The Minor Victim disclosed to investigators that GRlNDER’s “thing” penetrated
her “thing” slightly Again, she advised that this conduct occurred in the residences in Abingdon
and Westminster. The Minor Victim also disclosed that on one occasion her father pushed her
mouth to his ‘?thing” and put it in her mouth.

19. The Minor Victim advised that she has seen her mother and father taking what she

Case 1:18-mj-02713-ADC Document 3 'Filed 10/22/18 Page 9 of 20

described as crushed-up pills She also stated that that when the police officer came to the house
the previous day she told the officer that her parents give her cough medication which she drinks
at night and that the medication makes her sleepy.

20. Following the Minor Victim’ s interview, investigators interviewed Alesha. Alesha
stated that had been married to GRINDERfor two and a half years and that GRINDER adopted
the Minor Victim shortly after_they were married. Alesha further advised that she, GRINDER,
and the Minor Victim lived at 122 Laurel Valley Court in Abingdon, Maryland for three years
prior to moving to their residence located at 261 Montpelier Court in Westminster.

21. Alesha further advised that she has medical problems that cause her physical pain
and, consequently5 began taking non~FDA approved Clonazepam purchased by her husband over
the lntemet. Alesha also told investigators that on November 27, 2016, after the Minor Victim
disclosed to her that her fatherlhad sexually abused her, she noticed the child to be extremely tired
and barely responsive Alesha retrieved a new, unopened bottle of Robitussin, opened it and tasted
it. She then tasted the Robitussin from the bottle in the Minor Victim’s bedroom that she assumed
her husband had just given the child (the cup accompanying the bottle had fresh residue in it).
Alesha stated that the “Robitussin” from the bottle in Minor Victim’s bedroom tasted like the
Clonazepam.

22. On November 29, 2016, at state search and seizure warrant was authorized for the
Grinder residence located at 261 Montpelier Court in Westminster, Maryland for evidence relating
to rape and sex abuse of a minor, among other crimes The search warrant was authorized by -
Honorable Thomas F. Stansfield, of the Circuit Court for Carroll County. Among the items seized
were the following: A Samsung Model SM~G900V Cellular telephone lMEl: 990004495000428;

and a Toshiba Satellite laptop, Model number L505-E85018, S/N: 1A112898Q.

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Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 10 of 20

23. The Samsung phone was seized from GRINDER; and Alesha stated that GRINDER
owned and used the Toshiba laptop.

24. On December 2, 2016, the MSP investigator received a follow-up call from Alesha

7 concerning additional statements by the Minor Victim concerning the abuse. Alesha reported that

the Minor Victim told her that her father used his cell phone to videotape the Minor Victim

performing oral sex on GRINDER, and then “put it on the TV.”

25. On December 16, 2016, the Minor Victim received a Pediatric Sexual Assault
Forensic Examination (SAFE Exam) at the Carroll Hospital CenterJ and the examining doctor
noted indications of a history of sexual abuse, including the child’ s absence of her posterior hymen,
which was diagnostic of prior penetrating trauma to the vagina.

26. On December 19, 2016, GRINDER’s a forensic analyst at l-lSl in Frederick began
an examination of the GRlNDER’s Toshiba Laptop. During the examination, the analyst
discovered what he believed to be, based on the description of the child provided to him by
investigators an image of the Minor victimma minor female wearing glasses-performing
fellatio on an adult male. He also discovered an image of the same child touching an adult male’s
penis

27. In addition to suspected pornographic image of the Minor Victim, the analyst also
discovered two known images of child pornography that he was familiar with based on his work
in past child exploitation investigations

28. After discovering the images of suspected child pomography, out of an abundance
of caution, the analyst suspended his examination pending investigators obtaining a search warrant
specifically authorizing a search of the devices for evidence relating to the production and

possession of child pornography, and related offenses

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Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 11 of 20

29. On March 16J 2017, the Minor Victim’s aunt viewed a sanitized image of the
suspected child pornography of the Minor Victim that the HSI analyst had located during his initial
examination The aunt confirmed that child in the image is the Minor Victim.

30. On March 17, 2017, federal law enforcement obtained warrants to search
Defendant’s residence at 261 Montpelier Court in Westminster, as well as the Toshiba laptop
computer and the seized Samsung phone, for evidence relating to production and possession of
child pomography.

` 31. After the federal search warrants for the Toshiba computer and the Samsung phone
were obtained, the HSI analyst proceeded to exam them. The computer contained several images
of the Minor Victim performing fellatio on adult male wearing blue sweat pants with a bright
orange drawstring and an orange shirt. The face of the male is not visible However, during the
execution of the federal search warrants, law enforcement recovered, among other things, blue
sweat pants with a bright orange drawstring and orange shirt_the exact outfit worn by the adult
male in the images of the abuse.

32_ ` The analyst’s review of. the Samsung phone (along with the SD card within it)
likewise revealed images capturing the abuse of the Minor Victim.

33. The phone and its SD card contained three images of the Minor Victim’s exposed
genitals,1 as Well as videos depicting an adult male penetrating the Minor Victim’s vagina with his
finger and touching her vagina with a vibrator.

34. Furtherrnore, a search of the Samsung phone revealed the existence of PlayStation

Messenger application Based on my knowledge, training, and experience, 1 know that this

 

1 l know the child in the depictions to be the Minor Victim because moles visible in the SAFE Exam photos
of the Minol' Victim are also visible in the depictions So too is the Minor Victirn’s bedding, as identified by her
launt and mother. ‘

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Case'1:18-mj#02713-ADC Document3 Filed10/22/18 Page 12 of 20

application allows the user to, among other things, message gamer friends and talk about the games
even while away from the PlayStation 4 system. The application also allows users to send text or
voice messages as well as photos and stickers to gamer friends and or groups I further know that
users of the PlayStation Messenger application have the ability to send photographs to the
PlayStation 4 system, which are then saved to the system’s hard drive.

35. On March 25, 2017, when Grinder was detained at the Carroll County Detention in
connection with state charges, he was visited by his sister, Kayla Martin The visit was recorded.
During the visit, Grinder asked his sister to retrieve his PlayStation from 261 Montpelier Court by
breaking into it. She informed him that she already had the PlayStation in her possession Grinder
also told his sister that he needed her to go into 261 Montpelier Court and retrieve an item from
behind a pillar in the kitchen that separated two kitchen cabinets and then “destroy, throw away,
get rid” it. Martin responded, “Ok.”

36. During the same visit, Martin advised Grinder that she “took the thing and hid it
very, very good when Homeland Security came and then -- where’s it at now, it’s with me. Do
you want me to keep that‘?” Grinder responds, “[t]hat has more, that has more not good stuff in it.
And that’s what you’re retrieving from the house.”

37. On April 5, 2017, Kayla Martin, was interviewed by law enforcement prior to her
appearance before a Federal Grand Jury. ln connection with her testimony, she provided law
enforcement Grinder’s PlayStation, which she had in her possession_~a Sony PlayStation (4),
Model Number CUH-1001A SfN: MB074707683 and a Sentry 1160 Safe, beige in colorJ which
belonged to Grinder. She further indicated that Sentry 1160 Safe was the “thing” that she had
previously hidden from law enforcement and that she hadtold Grinder about during her visit. She

likewise stated that she opened the safe and took pills from it, which she flushed down the toilet.

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Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 13 of 20

38. On April 26, 2017, a federal Grand lury sitting in the District of Maryland returned
an lndictment charging Grinder with three counts of Production of Child Pornography, pursuant
to 18 U.S.C. § 2251(a) and two counts of Possession of Child Pomography, pursuant to 18 U.S.C. 4
§ 2252(a)(4)(B).

39. On May 4, 2017, Grinder has his initial appearance and arraignment on the
lndictment and was ordered detained

40. On 7August 19, 2017, a federal Grand Jury sitting in the District of Maryland
returned a Superseding lndictment charging the defendant with five counts of Production of Child
Pornography, pursuant to 18 U.S.C. § 2251(a), two counts of Possession of Child Pornography,
pursuant to 18 U.S.C. § 2252(a)(4)(B), and one count of Witness Tampering pursuant to 18 U.S.C.
§ 1512(b)(1). 7

v PROPOSED METHODOLOGY AS TO PHOT()GRAPHS

41. l-ISI will utilize a digital camera, which will allow for immediate review of the
images, and ensure that each photo was taken in focus This will also limit the number of
photographs taken HSI intends to take photos of Grinder’s right and left hands from various
vantage points, including those corresponding with the vantage points depicted in the sexually
explicit videos described above_i.e., the videos depicting an adult male penetrating the Minor
Victim’s vagina with his finger and touching her vagina with a vibrator.

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42. Based on the foregoing, I respectfully submit that there is probable cause to believe
that the aforementioned federal statutes have been violated and that there is probable cause to
believe that evidence of the TARGET OFFENSES crimes can be found in the TARGET

LOCATIONS.

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Case 1:18-mj-02713-ADC Document3 Filed-lO/22/18 Page 14 of 20
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43, WHEREFORE, l respectfully request that the attached warrants be issued
authorizing the search and seizure of the TARGET LOCATIONS described in Attachments A~l,

A-Z and the items described in Attachrnents B-l and B-2.

 

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Ric déi$. Federico
Spe ial Agent
Homeland Security Investigations

Sworn an subscribed before me
this 5 day of October, 2018

 

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UNITED STATES MAGISTRATE .TUDGE

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Qase 1:18-mj-02713-ADC Documen_t 3 Filed 10/22/18 Page 15 of 20

ATTACHMENT A-l

DESCRIPTION LOCATION TO BE SEARCHED

The person of Eric Wayne Grinder, date of birth: X/XX/Sl; SSN: XXX-XX- l 596

Grinder is currently in the custody of the Carroll County Detention Center.

%l\ Case 1:18-mj-02713-ADC Document3 Filed10/22/18 Page»16 of 20

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DESCRIPTION OF ITEMS TO BE SEARCHED

The following items currently in the custody of the HSI Law Enforcement Center 110

Airport Drive East, Frederick, Maryland 21701:

0 A SONY PLAYSTAI()N 4, Model Number CUH-1001A SfN: MB074707683;

0 A SENTRY 1160 SAFE, BEIGE IN COLOR

Ql\ Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 17 of 20

ATTACHMENT B-l
DESCRIPTI()N ()F ITEMS TO BE SEIZED `ANI) SEARCHED

The left hand and right hand of the person described in Attachment A-l, which constitutes
evidence of the commission of violations of Title 18, United States Code, Sections 2251(a)
(production of child pornography), 2252A(a)(2) (receipt or distribution of child pornography),
and 2252A(a)(5)(B) (possession of child pornography). During the course of the search,
photographs of the left hand and right hand may be taken.

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Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 18 of 20

ATTACHMENT B-2
LIST OF ITEMS TO BE SEIZED AND SEARCHED

The items described in Attachment A-2 may be searched for the following items, which
may be seized:

All recordsJ documents, items, data and other information that may constitute fruits or
instrumentalities of, or contain evidence related to the production of child pornography in
violation of 18 U.S.C. § 2251(a) and receipt and possession of child pornography in violation of
18 U.S.C. § 2252A(a)(2) & (5)(B), including, but not limited to, the following:

1. Any and all notes, documents, records, or correspondence pertaining to child
pornography as defined under Title 18, U.S.C. § 2256(8).

2. Any and all correspondence identifying persons transmitting, receiving or
possessing, through interstate commerce including by U.S. Mails or by computer, any visual

depictions of minors engaged in sexually explicit conduct, as defined in Title 18, U.S.C. § 2256(2).

3. _Any and all records, documents, invoices and materials that concern any accounts,
screen names, social networking sites, online accounts, or email accounts, including Internet
Service Providers. -

4. Any and all visual depictions of minors, to include depictions of` minors engaged in
sexually explicit conduct, nude pictures, and modeling.

5. Any and all documents, records, or correspondence pertaining to occupancy or
other connection to 261 Montpelier Court, Westminster, Maryland 21157.

6. Any and all diaries, notebooks, notes, address books, pictures, emails, chats,
directions, maps, banking, travelJ documents, and any other records reflecting personal contact and
any other activities with minors.

7. Any and all notes, documents, records, photos or correspondence that indicate a
sexual interest in children, including, but not limited to:

a Correspondence with children;

b Any and all visual depictions of minors;

c. lnternet browsing history; `

d Books, logs, emails, chats, diaries and other documents

As used above, the terms "records, documents, messages, correspondence, data, and
materials" includes records, documents, messages, correspondence, data, and materials, created,
modified or stored in any form, including electronic or digital forrn, and by whatever means they
may have been created and/or stored. This includes any handmade, photographic, mechanical,

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Case 1:18-mj-02713-ADC Document 3 Filed 10/22/13 Page 19 of 20

electrical, electronic, and/or magnetic forms. lt also includes items in the form of computer
hardware, software, documentation, passwords, and/ or data security devices.

8. For any computer, cell phone, or other physical object upon which computer data
can be recorded (hereinafter, “COMPUTER”) that is called for by this warrant, or that might
contain things otherwise called for by this warrant:

a. evidence of who used, owned, or controlled the COMPUTER at the time
the things described in this warrant were created, edited, or deleted, such as logs, registry entries,
configuration files, saved usemames and passwords, documents, browsing history, user profiles,

email, email contacts, “chat,” instant messaging logs, photographs, and correspondence;

b. evidence of software that would allow others to control the COMPUTER,
such as viruses, Trojan horses, and other forms of malicious software, as well as evidence of the
presence or absence of security software designed to detect malicious software;

c. evidence of the lack of such malicious software;

d. evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence; §

e. evidence of counter-forensic programs (and associated data) that are
designed to eliminate data from the COMPUTER;

f`. evidence of the times the COMPUTER was used;

g. passwords, encryption keys, and other access devices that may be necessary
to access the COMPUTER;

h. documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the COMPUTER;

i. contextual information necessary to understand the evidence described in
this attachment; and

j. image and video files that depict children engaged in sexually explicit

conduct pursuant to Title 18 U.S.C. § 2256.

Any of the items described in paragraphs 1 through 9 above which are stored in the form
of magnetic or electronic coding on computer media or non-media capable of being read by a
computer with the aid of computer-related equipment, including floppy diskettes, fixed hard
drives, or removable hard disk cartridges, software, or memory in any form. The search
procedure of the electronic data contained in computer operating software or memory devices
may include the following techniques which shall be used to minimize the risk that those
conducting the search will view information not within the scope of the warrant

a. surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for markings it contains and opening a drawer believed to contain
pertinent files);

b, “opening” or cursorin reading the first few “pages” of such files in order to determine
their precise contents;

c. “scanning” storage areas to discover and possible=recover recently deleted files;

d. “scanning” storage areas for deliberately hidden files; or

e. performing key word or other search and retrieval searches through all electronic storage

areas to determine whether occurrences of language contained in such‘storage areas exist that are
intimately related to the subject matter of the investigation

c)\ Case 1:18-mj-02713-ADC Document 3 Filed 10/22/18 Page 20 of 20

If after performing these procedures, the directories, files or storage areas do not reveal
evidence of child pornography, or other criminal activity, the further search of that particular
directory, file or storage area, shall cease.

